FILED: KINGS COUNTY CLERK 11/16/2022 10:56 AM                                                                                                                         INDEX NO. 533500/2022
NYSCEF DOC. Case
             NO. 11:22-mj-01155-TAM Document 8-2 Filed 11/16/22 Page 1 RECEIVED
                                                                       of 4 PageID #: 61 11/16/2022
                                                                                NYSCEF:




               SUPREME              COURT          OF THE              STATE           OF   NEW          YORK
               COUNTY             OF KINGS


               UNITED            STATES          OF AMERICA,


                                                                                            Plaintiff,                              Index      No.


               -against-
                                                                                                                                AFFIDAVIT              FOR
                                                                                                                                JUDGMENT
                                                                                                                                BY CONFESSION
                                                                                                                                OF      EMMANOUIL                 PAVLAKIS

                EMMANOUIL                     PAVLAKIS                AND      FROSO         PAVLAKIS,




                                                                                            Defendants.
                                                                                                                     X


                STATE       OF NEW              YORK              )
                                                                  )     ss.
                COUNTY            OF KINGS                        )




                        Emmanouil         Pavlakis        being       duly     sworn    says:


                            1.          I am a Defendant                in this action.         I make this affidavit                 pursuant       to CPLR      § 3218.


                                                      at 7910           14th                    Brooklyn,           New        York      11228,      which       is in Kings
                           2.           I reside                                 Avenue,


                County,      New      York.


                                        I hereby      authorize           the entry     of judgment           by confession              in the favor        of the plaintiff
                           3.


                                                                               and five      hundred         thousand         dollars       ($1,500,000).
               against      me in the sum of one million


                                        This     confession            of judgment          is for the purpose                of securing        the plaintiff      against       a
                           4.


                                                            upon         the following          facts:      I executed,         as surety,        an Appearance           Bond
               contingent         liability     arising


                                                   which      is part          of an Order         Setting        Conditions           of Release       and      Appearance
               for    George       lakovou,


                                    October                            filed    in the United            States    District        Court,     Eastem     District     of New
               Bond,      dated                    26, 2022,


                         (l:22-mj-01155-TAM).                         In the event      of a court-ordered                forfeiture        of the Appearance             Bond,
               York


                                          for   one    million          and     five   hundred           thousand        dollars       ($1,500,000),          including       any
               I will     be liable




                                                                                            1 of 4
FILED: KINGS COUNTY CLERK 11/16/2022 10:56 AM                                                                                             INDEX NO. 533500/2022
NYSCEF DOC. Case
             NO. 11:22-mj-01155-TAM Document 8-2 Filed 11/16/22 Page 2 RECEIVED
                                                                       of 4 PageID #: 62 11/16/2022
                                                                                NYSCEF:




               interest   and costs,       secured   with   an interest   in my house at 7910    14th Avenue,       Brooklyn,       New    York,


                1 1228.   The sum confessed              does not exceed    the amount   of potential   liability   under   the terms      of the


               Appearance          Bond.




                                                                                                              manouil    Paviakis




                                                     6                           2022.
               Sworn      to before    me this              day of November,




               Notary     Public




                       lOANNIS     G. FALIDAS
                 NOTARY PUBLIC-STATE OF NEW YORK
                           No.0 1FA6385837
                     Oustified in oueens County
                  MyCommission         Expires01-14-20




                                                                            2 of 4
FILED: KINGS COUNTY CLERK 11/16/2022 10:56 AM                                                                                                                        INDEX NO. 533500/2022
NYSCEF DOC. Case
             NO. 11:22-mj-01155-TAM Document 8-2 Filed 11/16/22 Page 3 RECEIVED
                                                                       of 4 PageID #: 63 11/16/2022
                                                                                NYSCEF:




                SUPREME               COURT         OF THE STATE                        OF   NEW YORK
                COUNTY             OF KINGS
                                                                                                                     X
                UNITED            STATES         OF AMERICA,


                                                                                             Plaintiff,                           Index      No.


                -against-
                                                                                                                              AFFIDAVIT               FOR
                                                                                                                              JUDGMENT
                                                                                                                              BY CONFESSION
                                                                                                                              OF      FROSO         PAVLAKIS
                EMMANOUIL                     PAVLAKIS                AND FROSO               PAVLAKIS,



                                                                                             Defendants.
                                                                                                                   X


                STATE           OF NEW          YORK              )
                                                                  )     ss.
                COUNTY            OF KINGS                         )




                        Froso    Pavlakis       being     duly     sworn        says:


                            1.           I am a Defendant               in this action.         I make       this affidavit         pursuant       to CPLR        § 3218.


                            2.           I reside       at 7910          14th    Avenue,        Brooklyn,        New         York      11228,      which       is in Kings


               County,          New    York.


                            3.          I hereby        authorize         the entry      of judgment          by confession            in the favor        of the plaintiff


               against      me in the sum of one million                        and five      hundred        thousand       dollars       ($1,500,000).


                            4.          This    confession             of judgment           is for the purpose             of securing        the plaintiff       against      a


               contingent         liability     arising     upon         the following          facts:    1 executed,         as surety,        an Appearance           Bond


               for    George       lakovou,       which          is part       of an Order         Setting     Conditions             of Release      and Appearance


               Bond,      dated       October     26, 2022,            filed    in the United         States     District        Court,     Eastern    District      of New


               York      (l:22-mj-01155-TAM).                      In the event          of a court-ordered              forfeiture       of the Appearance             Bond,


               I will     be liable       for   one million             and     five    hundred       thousand         dollars      ($1,500,000),           including        any




                                                                                             3 of 4
FILED: KINGS COUNTY CLERK 11/16/2022 10:56 AM                                                                                              INDEX NO. 533500/2022
NYSCEF DOC. Case
             NO. 11:22-mj-01155-TAM Document 8-2 Filed 11/16/22 Page 4 RECEIVED
                                                                       of 4 PageID #: 64 11/16/2022
                                                                                NYSCEF:




                                                                            in my house at 7910    14thAvenue,Brooklyn,                 NewYork,
                interest     and costs,      secured   with   an interest


                                                                              the amount   of potential                under       the terms   of the
                11228.       The sum confessed          does not exceed                                   liability


                Appearance           Bond.                                                                                     7




                                                                                                          Fr          avlak    s




                Sworn       to before     me this1day             ofNovember,      2022.




                Notary      Public




                        IOANNIS G. FALIDAS
                  NOTARY PUBLIC-STATE OF NEW YORK
                           No.01FA6385837
                           Oustifiedin    Oueens county
                   MyCommissionExpires01-14-201




                                                                              4 of 4
